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In the United States Court of Federal Claims
                                 No. 24-1322C
                            (Filed: October 4, 2024)

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METROIBR JV, LLC,

               Plaintiff,

and

METROSTAR SYSTEMS, LLC,

               Plaintiff,

v.

THE UNITED STATES,

               Defendant,

*************************

                                   ORDER

       This is a pre-award bid protest brought by MetroIBR JV, LLC
(“MetroIBR”) and MetroStar Systems, LLC (“MetroStar”) against the U.S.
Census Bureau (“Census Bureau”) filed on August 27, 2024. Currently
pending is plaintiffs’ motion (ECF No. 8) for a preliminary injunction against
the Census Bureau’s proposed modification to a task order held by BLN,
LLC (“BLN”) to include Enterprise Data Dissemination Environment
support services. A parallel preliminary injunction motion was filed by
IgniteAction JV, LLC (“IgniteAction”) on September 12, 2024, in docket
No. 24-1386, seeking the same relief. Oral argument for both motions was
held on September 26, 2024. An opinion granting IgniteAction’s preliminary
injunction request was filed on October 4, 2024. Accordingly, MetroIBR and
MetroStar’s preliminary injunction motion is denied as moot.

                                           s/Eric G. Bruggink
                                           ERIC G. BRUGGINK
                                           Senior Judge
